Case 5:20-cv-02190-JGB-SP Document 17 Filed 02/03/21 Page 1 of 1 Page ID #:56




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      Attorneys for Plaintiff THERESA BROOKE
  6
                              UNITED STATES DISTRICT COURT
  7
  8                         CENTRAL DISTRICT OF CALIFORNIA

  9   THERESA BROOKE, a married woman
      dealing with her sole and separate claim,       Case No: 5:20-cv-02190-JGB-SP
 10
 11                        Plaintiff,                 STIPULATION OF DISMISSAL
                                                      WITH PREJUDICE
 12
 13   vs.

 14   CASTLEBLACK TWENTYNINE PALMS
      OWNER LLC,
 15
 16                        Defendant.
 17          The parties stipulate and agree to dismiss the above action with prejudice, with
 18   each party to bear her/its own costs and attorneys’ fees.
 19
 20          RESPECTFULLY SUBMITTED this 3rd day of February, 2021.

 21
                                                  /s/ Peter Kristofer Strojnik
 22
                                                  Peter Kristofer Strojnik
 23                                               Attorneys for Plaintiff
 24
 25                                               /s/ Bret Martin
                                                  Bret Martin
 26                                               Attorneys for Defendant
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